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     Attorney(s) for Plaintiff Scanning Technology Innovations, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9   SCANNING TECHNOLOGIES
     INNOVATIONS, LLC,
10
                   Plaintiff,
11                                                  Case No. 3:21-cv-03119
            v.
12
     FINALE, INC.,                                  PATENT CASE
13
                   Defendant.
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17
                                        COMPLAINT

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           Pursuant to F.R.C.P. 15(a)(1)(B), Plaintiff Scanning Technologies Innovations,

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     LLC (“Plaintiff” or “STI”) files this Original Complaint against Finale, Inc.

20
     (“Defendant” or “Finale”) for infringement of United States Patent No. 10,600,101

21
     (hereinafter “the ‘101 Patent”).

22
                                PARTIES AND JURISDICTION

23
           1.     This is an action for patent infringement under Title 35 of the United

24
     States Code. Plaintiff is seeking injunctive relief as well as damages.

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           2.     Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331

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     (Federal Question) and 1338(a) (Patents) because this is a civil action for patent

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     infringement arising under the United States patent statutes.

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           3.     Plaintiff is a Texas limited liability company having an address of 1801
                                               1
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 1   NE 123 St., Suite 314, Miami, FL 33181.
 2          4.     On information and belief, Defendant is a Delaware corporation having
 3   a place of business at 165 Hawthorne Ave., Palo Alto, CA 94301. On information
 4   and belief, Defendant may be served through its agent, Incorporating Services, Ltd.,
 5   3500 S. Dupont Hwy., Dover, DE 19901, or William David Harvey at 165 Hawthorne
 6   Ave., Palo Alto, CA 94301.
 7          5.     On information and belief, this Court has personal jurisdiction over
 8   Defendant because Defendant has committed, and continues to commit, acts of
 9   infringement in this District, has conducted business in this District, and/or has
10   engaged in continuous and systematic activities in this District.
11          6.     On information and belief, Defendant’s instrumentalities that are alleged
12   herein to infringe were and continue to be used, imported, offered for sale, and/or sold
13   in this District.
14                                           VENUE
15          7.     Venue is proper in this District 28 U.S.C. §1400(b) because Defendant
16   is deemed to reside in this District. Alternatively, acts of infringement are occurring
17   in this District and Defendant has a regular and established place of business in this
18   District.
19                                          COUNT I
20         (INFRINGEMENT OF UNITED STATES PATENT NO. 10,600,101)
21          8.     Plaintiff incorporates paragraphs 1 through 7 herein by reference.
22          9.     This cause of action arises under the patent laws of the United States
23   and, in particular, under 35 U.S.C. §§ 271, et seq.
24          10.    Plaintiff is the owner by assignment of the ‘101 Patent with sole rights
25   to enforce the ‘101 Patent and sue infringers.
26          11.    A copy of the ‘101 Patent, titled “Systems and Methods for Indicating
27   the Existence of Accessible Information Pertaining to Articles of Commerce,” is
28   attached hereto as Exhibit A.
                                                  2
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 1         12.    The ‘101 Patent is valid, enforceable, and was duly issued in full
 2   compliance with Title 35 of the United States Code.
 3         13.    Upon information and belief, Defendant has infringed and continues to
 4   infringe one or more claims, including at least Claim 1, of the ‘101 Patent by making,
 5   using, importing, selling, and/or offering for sale an inventory management system
 6   covered by one or more claims of the ‘101 Patent. Defendant has infringed and
 7   continues to infringe the ‘101 Patent directly in violation of 35 U.S.C. § 271.
 8         14.    Defendant sells, offers to sell, and/or uses an inventory system including,
 9   without limitation, the Finale Inventory system, any associated hardware and
10   software, and any similar products (collectively, “Product”), which infringe at least
11   Claim 1 of the ‘101 Patent.
12         15.    The Product provides an application for scanning barcodes to obtain a
13   decoded link, which contains information about an article of commerce. Certain
14   aspects of this element are illustrated in the screenshots below and/or those provided
15   in connection with other allegations herein.
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12         16.   The Product includes a mobile device comprising a portable handheld
13   housing and a communication interface configured to enable the mobile device to
14   communicate with a communication network. For example, the Product incorporates
15   a handheld device (e.g., mobile device with Product software) and a communication
16   interface (i.e. cloud based communication interface) configured to enable the
17   handheld device to communicate with a communication network (e.g., cloud
18   network). Certain aspects of this element are illustrated in the screenshots below
19   and/or those provided in connection with other allegations herein.
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16         17.    The Product uses a signal processing device and a visual input device,

17   the visual input device affixed within the portable handheld housing. For example, a

18   visual input device (e.g., camera for scanning barcode) and signal processing device

19   (i.e. processor of handheld device) are affixed within the portable handheld housing

20   (e.g., the housing of the mobile device). The mobile device camera is used to scan a

21   barcode and, via the Product’s server, obtain details related to a particular product.

22   Certain aspects of this element are illustrated in the screenshots below and/or those

23   provided in connection with other allegations herein.

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           18.    The Product comprises digital files associated with the mobile device.
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     For example, the Product application has digital files (e.g., barcode image files and
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     digital product information) associated with the mobile device. Certain aspects of this
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 1   element are illustrated in the screenshots below and/or those provided in connection
 2   with other allegations herein.
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15         19.    The Product also includes a server in communication with the
16   communication network, the server comprising a server database configured to store
17   a look-up table that includes at least a plurality of bar codes associated with a plurality
18   of articles of commerce. For example, the Product app communicates with a server
19   through a cloud communication network, the server comprising look-up table (i.e.
20   remote database). Also, the server database contains barcodes, each having associated
21   information about a particular article of commerce. Certain aspects of this element
22   are illustrated in the screenshots below and/or those provided in connection with other
23   allegations herein.
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           20.    The look-up table also stores a plurality of information link indicators,
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     each information link indicator associated with a respective bar code and article of
11
     commerce. For example, the look-up table (i.e. remote cloud database accessed by
12
     the Product app/software) also stores a plurality of information link indicators (e.g.,
13
     link indicating scanned product and/or validation of scanned barcode details
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     associated with the product) indicating information associated with a respective
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     barcode. Certain aspects of this element are illustrated in the screenshots below
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     and/or those provided in connection with other allegations herein.
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27         21.    Each information link indicator is configured as a status signal indicating
28   the existence or absence of a link to information pertaining to a respective article of
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 1   commerce, the link being made to the information via the communication network.
 2   For example, each information link which is obtained by scanning a code indicates a
 3   status signal (e.g., link indicating validation of scanned code product and details
 4   associated with product). The information associated with the link is retrieved through
 5   the cloud communication network. Certain aspects of this element are illustrated in
 6   the screenshots below and/or those provided in connection with other allegations
 7   herein.
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13         22.   The visual input device is configured to scan an image of an article of
14   commerce, decode the image to obtain a bar code and forward data from the scanned
15   image to the signal processing device. For example, the visual input device (i.e.
16   handheld device camera) is configured to scan an image of a barcode associated with
17   an article of commerce. After scanning the code, the code is decoded using Product
18   software, which may be located on the mobile device, to retrieve information about
19   the product. The information is forwarded to the signal processing device (i.e.
20   processor of mobile device). Certain aspects of this element are illustrated in the
21   screenshots below and/or those provided in connection with other allegations herein.
22         23.   In response to receiving the bar code, the signal processing device (i.e.
23   mobile device) is configured to look up the code in the look-up table (i.e. remote
24   database) to determine from a respective information link (e.g., link indicating
25   validation of scanned barcode product) whether or not information pertaining to an
26   article of commerce associated with the code (information about the associated
27   product) may be accessed via the communication network. Certain aspects of this
28   element are illustrated in the screenshots below and/or those provided in connection
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 1   with other allegations herein.
 2         24.    Defendant’s actions complained of herein will continue unless
 3   Defendant is enjoined by this court.
 4         25.    Defendant’s actions complained of herein are causing irreparable harm
 5   and monetary damage to Plaintiff and will continue to do so unless and until
 6   Defendant is enjoined and restrained by this Court.
 7         26.    Plaintiff is in compliance with 35 U.S.C. § 287.
 8                                    PRAYER FOR RELIEF
 9         WHEREFORE, Plaintiff asks the Court to:
10         (a)    Enter judgment for Plaintiff on this Complaint on all causes of action
11   asserted herein;
12         (b)    Enter an Order enjoining Defendant, its agents, officers, servants,
13   employees, attorneys, and all persons in active concert or participation with
14   Defendant who receive notice of the order from further infringement of United States
15   Patent No. 10,600,101 (or, in the alternative, awarding Plaintiff a running royalty
16   from the time of judgment going forward);
17         (c)    Award Plaintiff damages resulting from Defendant’s infringement in
18   accordance with 35 U.S.C. § 284;
19         (d)    Award Plaintiff pre-judgment and post-judgment interest and costs; and
20         (e)    Award Plaintiff such further relief to which the Court finds Plaintiff
21   entitled under law or equity.
22   Dated: April 28, 2021                         Respectfully submitted,
23
                                                   /s/ Stephen M. Lobbin
24                                                 Attorney(s) for Plaintiff Scanning
25                                                 Technology Innovations, LLC

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                        PLAINTIFF’S COMPLAINT AGAINST DEFENDANT FINALE, INC.
